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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

CLEAR WITH COMPUTERS, LLC
                      Plaintiff,                      Civil Action No. 6:13-cv-161-LED
               v.                                     LEAD CASE

FISHING HOLDINGS, LLC dba RANGER
BOATS,

                      Defendant.
CLEAR WITH COMPUTERS, LLC,

                      Plaintiff,                      CONSOLIDATED WITH

                                                      Civil Action No. 6:13-cv-00172-LED
                        v.

EMPIRE SOUTHWEST, LLC,

                      Defendant,


                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims asserted between plaintiff Clear With Computers, LLC and defendant

Empire Southwest, LLC in this case, and the Court being of the opinion that said motion should
be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

Clear With Computers, LLC and Empire Southwest, LLC are hereby dismissed with prejudice,

subject to the terms of that certain agreement entiitled “RELEASE AGREEMENT” and dated

October 23, 2013.

       IT IS FURTHER ORDERED that all attorneys’ fees and costs are to be borne by the

party that incurred them.
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.           So ORDERED and SIGNED this 4th day of November, 2013.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE




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